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 3
                       IN THE UNITED STATES DISTRICT COURT
 4
                               DISTRICT OF NEVADA
 5
     UNITED STATES OF AMERICA,
 6
                  Plaintiff,                       2:99-cr-00210-HDM-LRL
 7
          vs.                                      ORDER
 8
     Adrian Falcon,
 9
               Defendant.
10   _____________________________/

11
          At the request of the United States Probation Department, the
12
     petition for warrant (Document #140) filed on July 3, 2007 is
13
     withdrawn.    The request to rescind petition for warrant (Document
14
     #148) filed on November 22, 2011 is rendered moot.
15
          It is so ordered.
16
          Dated this 30th day of November, 2011.
17

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19                                            UNITED STATES DISTRICT JUDGE

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